Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 1 of 15

Fiil in this information to identify the case:

Debtor name Driiiing Structures international, lnc.

United States Bankrupicy Couri forr the: SOUTHERN DlSTRlCT OF TEXAS

Case number 1 8-33395
(if known)

 

ij Cbeck if this is an
amended fiEing

 

 

Officiai Form 207
Statement of Financia| Affairs for Non-individuais Filing for Bankruptcy 04116

 

The debtor must answer every question. if more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).

1. Gross revenue from business

 

g None
identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue
which may he a calendar year Check ali that appiy. (before deductions

and exclusions

From the beginning of the E{ Operating a business

 

 

 

 

fiscal year to filing date: me M~ to Fiiing date |'_“3 Other $399,924.27
_ Operaiing a business
For rlor ear: From 01101!2017 fo 12131!2017 M
p y m nmee“/“Y“<z“w““ ij thef $4’233»799-52
Operating a business
For the year before that: From 01101[2016 fO 12!31!20'| 6 M
MM 1 001 YYYv N;M loo i YYvY g Other $3'493’741-°0

2. Non-business revenue
include revenue regardless of whether that revenue is taxabie. Non-busr'ness income may include interest dividends, money coiiected from
lawsuits, and royalties List each source and the gross revenue for each separately Do not include revenue listed in line t.

121 None
List Certain Transfers Nlade Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers-~inc|uding expense reimbursements-to any creditor. other titan regular employee oorn|:)ensationl within 90 days
before filing this case unless the aggregate vaiue of ali property transferred to that creditor is less than $6,425. (This amount may be
adjusted on 4/01/19 and_every 3 years after that with respect to cases filed on or after the date of adjustment.)

ij None

Ofticia| Form 207 Statement of F|nanciai Affaire for dion-individuals Fi|ing for Bankruptcy page ’i

 

 

 

Debtor

3.1.

3.2.

3.3.

3.4.

Officiai Form 207

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 2 of 15

Driliing Structures internationai, lnc.
Narne

Creditor's name and address

Grexo Technoiogy Group

 

Credilor‘s narne

17766 Preston Rd
Sireet

 

Dallas TX 75252

 

Ciiy Sta!e Z|P Code

Creditor's name and address

Castie illietals
Creditor‘s name
PO Box 84‘1949

Sli'eet

 

Daiias TX
city state

75284-1949
ZiP Code

Creditor's name and address

Blue Cross Biue Shieid Texas
Creditor‘s name

F’O Box 731428
Street

 

Dailas TX 75373-1428

 

City Siale ZiP Code

Creditor's name and address

Benttey, Bratcher & Associates
Creditor’s name

515 West Greens Road #710
Sireet

 

77067-4525
ZEF' Code

Houston TX
Ciiy State

Dates

311 3!‘! 8
2,392.33
511!1 8
2,392.33
5122i18
2,392.33

Dates

3123;13
2,000.
4r30ns
2,500.
5122;13
2,500.

Dates

3/13[13
7,770.49
4l30i'18
7,770.49
5i'30l'18
7,770.49

Dates

4i10l18
5,000.
511!18
2,666.

Tota| amount or value

$7,176.99

Total amount or value

$7,000.00

Tota| amount or value

$23,311.47

Tota| amount or value

$7,666.00

Statement of Financia| Afiairs for Non-|ndividnals Fiiing for Bankruptcy

Case number (ii known)

18~33395

Reasons for payment or transfer
Check ali that apply

|:] Secured debt

L__] Unsecured loan repayments
m Supp|iers or vendors

Services
E Other

Reasons for payment or transfer
Check all that apply

[:| Secured debt

|"_'t Unsecured loan repayments
E| Suppiiers or vendors

1:] Services

m Other

Reasons for payment or transfer
Checic ali that apply

}"_”'| Secured debt

g Unsecured loan repayments
\:| Suppiiers or vendors

|z[ Services

|:| Other

Reasons for payment or transfer
Check ali that apply

|:] Secured debt

[:] Unsecured ioan repayments
|:| Supp|iers or vendors

g Services

g Otber

page 2

 

 

 

Debtor

3.5.

3.6.

3.7.

3.8.

Officiai Form 207

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 3 of 15

Drilling Structures lnternationai, inc.
Name

Creditor's name and address

First Nationai Capitat L.LC
Creditor's name

1029 Highway 6 NO. #650-283

 

Street

 

77079
ZEP Code

Houston TX
City Staie

Creditor's name and address

Law Office of Brian Ettinger
Creditor's narne

5120 Woodway Drive #5004
Sireet

 

Houston TX 77056

 

Siate ZEP Code

city

Creditor's name and address

Hiliman Roliers

 

Creditor's name

 

Street

 

 

State ZiP Code

City

Creditor's name and address

iberlabank
Creditor’s name
PO Box 13740

 

Slreet

 

70562-3140
zlP code

New iberia LA
City state

Dates Totai amount or value

4!9/18
381 .05
4138[18
381 .05
5[31[18
9,813.49

$10,575.59

Dates Tota| amount or value

411 3/1 8
15,000.
518]18

15,008.

$38,000.00

Dates Total amount or value

3123!18
1,429.78
4!11!18
10,459.77
6112!18
9,477.00

$21,366.55

Dates Tota| amount or value

4110/18
4,810.72
4130!18
4,835.72
61'12[18
4,860.72

$14,507.16

Statement of Finanoiai Affairs for dion-individuals Fi|lng for Bankruptcy

Case number (if known)

18~33395

Reasons for payment or transfer
Check ali that apply

E{ Secured debt

|:] Unsecured loan repayments
l___| Suppiiers or vendors

[:| Services

|:[ Other

Reasons for payment or transfer
Cheok all that apply

|:| Secured debt

|'_'] Unsecured loan repayments
|;t Supp|iers or vendors

Services
f__“_| Other

Reasons for payment or transfer
Check all that apply

m Secured debt

|:| Unsecured loan repayments
lz[ Suppl§ers or vendors

m Services

m Other

Reasons for payment or transfer
Check ali that apply

|Z[ Secured debt

|:| Unseoured loan repayments
|"_'| Suppliers or vendors

m Services

[:I Other

page 3

 

 

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 4 of 15

Debtor
blame

Driiting Structures internationai, |nc.

Case number (ii known)

18-33395

4. Payrnents or other transfers of property made within 1 year before filing this case that benefited any insider

i_ist payments or transiers, including expense reimbursements, made within t year before filing this case on debts owed to an insider or
guaranteed or co-signed by an insider untess the aggregate vatue of aii property transferred to or for the benefit of the insider is less than
$6,425. (`l“his amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or aiterthe date of
adjustment.) Do not include any payments iisted in iine 3. insiders include oificers, directors, and anyone in control of a corporate debtor
and their reiatlves; general partners of a partnership debtor and their reiatives', atfiiiates of the debtor and insiders of such aftiliates; and
any managing agent ot the debtor. 11 U.S.C. § 101(31).

[_'J None

insider's name and address
Driiligg Structures Columbia SAS

insider name

Caiie 'iF #2-106 Zona F-'ranca Ba
Street

Eiarranqulli~Atlantic

4.1.

Coiumbia

City State

Reiationship to debtor
Common shareholders

Dates Totai amount or value

SEE
ATTACHED
SOFA #4.1

ZiP Code

 

lnsider's name and address

Shannon York

insidor’s name

6006 Fiagg Ranch Ct.
Street

4.2.

Tota| amount or value
$90,672.48

Dates

6126}17 to
6i26]18

 

TX
Staie

Spnng
City

Reiationship to debtor
Daughter of debtor's president

77388
ziP code

 

insider's name and address
Philiip Rivera Sr.

insider name
8902 Steriianate Circie
Sireet

4.3.

Totai amount or value
$93,705.00

Dates

6126!17 to
6l26i'18

 

TX

Sprlng_
Siate

city
Reiationship to debtor
Debtor's president

[nsider's name and address

Phiiiip Rivera Jr.

insider name

13419 Kiuge Corner l_ane
Street

4.4.

77379
ZlP Code

'l`otai amount or value
$52,670.25

Dates

6126!17 to
6128!18

 

TX
state

Cypress
city

Reiationship to debtor
Debor's executive vice president

Officiai Form 207

77429
Z|P Code

Statement of Financiai Affairs for Non~individuals Fi|ing for Bankruptcy

$271 ,940.00

Reasons for payment or transfer
Payment on account

Reasons for payment or transfer

Payroii $30,582.36
Car payment $10,090.12

Reasons for payment or transfer
Payroii

Reasons for payment or transfer
Payroil

page 4

 

 

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ATTACHMENT

SOFA #4.1

 

Oe:e_.m_ roomm_. Um»m= macon

_u_.==:m madonna m=»o_.:mmo:m_ cuva

 

>ooo:_..” ch_om:_Umwomu@o:
bowman Um$

Umnm= vom»=._mm ao_. Dm"mm m__._ m_.mo._.~ ._.:_.= ms m_~mo__m

 

 

 

 

 

con~:m_ mo=_.nm means mom:.=._m:m mm_m_._nm _um§~ 925 zmn ornamm munson mm_m:nm
Nwmmoo-oo t_,mem.,~ me.@m.
_:pm_.oo§um:< t Umoq m>w.
am QQQNQ._.~ GU-QQE.B Q__l om.~mm S,mco.oo .rmme_mma..mm.
Oo_,=:.o:»w" 009 ._.~w om_~mo:.\. _umO Xonm~.
3 diemvo OU-QQQ.M wm QF Qw.~mo SHUQQ.QQ § mdmn.@mt
OoBan»m~ moon .Mmm grade UmO code
3 .~.:P_NQ.G OU-QOQ._ mm OF ow.c.mu ._Q_Qoo.oo A.Jd~,mme.mm
Oo=._=._m=»mn conn ._@m eddie UmO X..m_. .
am mm 95ch OU.SON$ Q_P Ow.~m._ wfoco.oo .__.I.m_._ mn.mm
005_.=¢=$.. Uoou mem amended OmO canon
.5 ._Q_deo._.~ §O-ooo._ mm >=u oo.`..: wa“wmo..i s .£ m.wwm.wo
OoE:._m:G” UI=.Ezm m._.mco._.cmmm OO_.O§E> m >e_ooms
.E E__N@_mo._.~. Qu.oooo.mw mut owmm._ ._m_moo.oo ._.wmm_wmm.oo
OoBBm:~.m" Uoo" ._w .”NB©R.N UwO X~Am_,
o._ § 993 m OU-Qoooww O:, owmmm wc_ooo.co ._ .wmm_qmm.§
OoEe._m:Hn Uon~ mm 33 m__._m mumommu 6 Oum_.m¢:@
am w`.:wo$. OU-ooocmm ®:. Qmm§ G.mmo.oo ._.wsm.§m.§
005:._@:$~ Uoo" mm cm_a::m UwO Xs,ma
mm m§mo,_m OU-oooomm Q_. oww.~.m N.moo.oo J.mem.mnm.qn
02._._3¢:$" UoQ mm owc_o.v_._ m GmO l Om:~m_ ._.W.m<o_ Ommw .
am m__._ @.`wosm Oc-oooomm QF memm Nw_mmc.oo e_wmwwmm.qn
Oo§§m:$" won wm own m3 m UmO <<=m XMQ
om w\m\mo._m OU-QQQ.EN Q_.. memw ._m.moo.oo . §wom..~mm..§
oo_.:_._._m:nmu 009 ._QN ow`_om:m DmO §o X¢oq
nw m__~m_`mo.,m OU-SQ._NQ O_~_r om@Oo Mo.moa.oo t_.m@m_wmm..:
Oo=._:_ma$” mann ._mo cwa_mm:m UmO <<sw
on e:@_ma._m OO-QQOO._w QF omm._._ m_ooo.oo ._.wm._,..~mm,.`.n
0035¢2$" non t_w can m3 w Umo §§ §§ ,
cm m~_.:mo._m noroooowm 96 ow@ww Nm.mco,oo ._.Nmm..~@m.d
noa_.:m=~m" moon mm cmB._:m wooden 8 Oumam»_:m
am m\.§mn:m OO-QQQOH m_`_. 334 mw.moo.oo Hmam.mmm..:
OoBBe:_M" Uonu m.\ om.`._d.mm Uw© 5an
.__Nam.._ma..wm. N.~._ bache wa_omo.§ Nmmm.mm ._.mem»~mm..>_
macon ._.o_n_" §Na.m;me.mm. md _meo.oo wmm_omo.§ m_mm@.w@ A.mem.mmm..~._
Ic: Gm»o" m`._m§o._m `_`_anoe>_s ~ummm" .~

mar Um~m” m3 m_~wo._ m

come romo:" _.ow.:

Debtor

4.5.

4.6.

4.7.

4.8.

4.9.

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 6 of 15

Narne

|nsicter's name and address

Eiton York
insider name

6006 Fiagg Ranch Ct.
street

Drii|ing Structures internationa|, inc.

Dates

6[26!17 to
6[26!18

 

Spdng
city

Reiationship to debtor

TX 77388
State ZiP Code

Son-in-iaw of Debtor's president

insider's name and address

Nychotas Jaquette
insider's name

4803 Fountainhead Dr.
street

Dates

6[26!17 to
6[26!18

 

Houston
city

Reiationship to debtor

`i'X 77066
Siate ZiP Code

Grandson of debtor's president

insider's name and address

Linda Fortie
insider name
26527 Leafton
Street

Dates

6126!17 to
6[26!13

 

tii|agno|ia
city

Reiationship to debtor

`i'X 77354
Staie ZiP Code

|iiiother of debtor‘s exec. vice pres.

lnsider‘s name and address

ida|ia Gonzaiez
insiders name

4211 Stonehenge
Streei

Dates

6[26!17 to
6[26!‘1 8

 

Houston
City

Reiationship to debtor

TX 77066
State Z|P Code

Sister of debtor‘s president

|nsider's name and address

Jutian Gotay
lnsider‘s name
4803 Fountainhead Dr.

Dates

6126!17 to
6126!18

 

Sireei

 

Houston
city

Reiationship to debtor

TX 77066
State ZiF' Code

Nephew of Debtor's president

Officiai Form 207

Statement of Financia| Affairs for dion-individuals Fiiing for Bankruptcy

Case number (if known) 18-33395

Reasons for payment or transfer
Payroi|

Totai amount or value
$3,667.21

Reasons for payment or transfer
Payroii

Totai amount or vaiue
62 250.00

$ f

Reasons for payment or transfer

Payro|i

Totai amount or value
$30,000.00

Reasons for payment or transfer
Payroil

Totai amount or value
$3,938.00

Reasons for payment or transfer
Payro|i

Totai amount or value

$7 !440 .00

page 5

 

 

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 7 of 15

tJebtor Driiiing Structures |nternationai, inc. Case number (|f known) 18-33395
Name

lnsider's name and address Dates Totai amount or value Reasons for payment or transfer

4.10. Jason Brock 6126!17 to $11,361.00 Payrot|

insiders name 2
3006 Peachstone P|ace al ana

Street

 

 

Spring TX 77389
City State ZiF' Code

Reiationship to debtor
Nephew of Debtor's president

5. Repossessions, foreclosures, and returns

List ali property of the debtor that was obtained by a creditor within 1 year before fiiing this case. including property repossessed by a
creditor, sold at a foreclosure saie. transferred by a deed in lieu ot foreclosure. or returned to the seiler. Do not include property iisted in
line 6.

g None
6. Setoffs
List any creditor. inciuding a bank or financiai institution, that within 90 days before fiting this case set offer otherwise took anything from

an account of the debtor without permission or refused to make a payment at the debtor‘s direction from an account of the debtor because
_ the debtor owed a debt

E[ None

Legal Actions or Assignments

7. Lega| actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the iegai actions, proceedings, investigations arbitrationsl mediations, and audits by federal or state agencies in which the debtor
was invotved in any capacity--within t year before filing this case.

 

 

 

 

 

|:] None
Case title Nature of case Court or agenoy's name and address Status of case
7_1_ Amanda Ve|ez etal v Norton Aiieged damages, accidental 72nd District Court, i_ubboci< Co, TX Pendin
Energy etai death Name 9
PO Box 10536 |____i On appeat
Street
|:| Conc|udect
Case number
2016-522599 Lubbock TX 7940'1
Clty State ZiP Code

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the t20 days before filing this case and any property in the
hands of a receiverl custodian, or other court-appointed officer within 'i year before fi§ing this case.

iz[ None

Officiai Form 207 Statemsnt of Financia| Affalrs for Non-|ndividuais Fi|ing for Bankruptcy page 6

 

 

 

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 8 of 15

center Driiilng Structures internationai, inc. case number (ir known) 18-33395
Name

certain sins and charitabie contributions

9. List ali gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
aggregate value of the gifts to that recipient is less than $‘i ,OOG

|z| None

Certain Losses

1li. Ai| losses frorn fire, theft, or other casualty within 'i year before filing this case.

[Z[ None

m Certain Payments or Transfers

11. Payments related to bankruptcy
t_ist any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
before the filing of this case to another person or entity, including ettorneys. that the debtor consulted about debt consolidation or
restructuring, seeking bankruptcy retief, or filing a bankruptcy case.

 

 

|:] None
Who was paid cr who received the transfer? if not money, describe the property Dates Totai amount
transferred or vaiue
11.1. Fuqua & Associates, PC 6[22¢’2018 $35,000.00
Address

5005 Riverway
Slreet

 

 

Suite 250
i~touston TX 77056
city state ziP case

Email or website address
rifuqua@i'uquaiegai.com

Who made the paymentl if not debtor?

 

12. Seif-set'tled trusts of which the debtor is a beneficiary
i_ist any payments or transfers of property made by the debtor or a person acting on behalf cline debtor within 10 years before the filing
of this case to a Self-setlied trust or similar device.
Do not include transfers aiready iisted on this statementl

EZ{ None

 

 

foicial Form 207 Statement of Financia| Affairs for Non-|ndividuais Fiiing for Bankruptcy page 7

 

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 9 of 15

Debtor Driiiing Structures internationai, lnc. ease number rig known) 18-33395

Name

13. Transfers not already listed on this statement

i_ist any transfers of money or other property»-by saie. trade, or any other means--made by the debtor or a person acting on behalf of the
debtor within 2 years before the fiiing of this case to another person, other than property transferred in the ordinary course of business or
financiai affairs. include both outright transfers and transfers made as security. Do not include gifts or transfers previousty iisted on this

statement
g None
Who received transfer? Description of property transferred Date transfer Totai amount
or payments received or debts paid was made or value
|n exchange
13.1. Niac Haik Dodge 2014 JEEP GRAND CHEROKEE 1!15!20‘18 $21,500.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4)(2 4DR L|MiTED

 

 

 

Add'ess 1c4RJEe'r9301474s4

11000 North Frwy

Street

i-iouston TX 77037

City State ZlP Code

Reiationship to debtor

Vendor

Who received transfer? Descr|ption of property transferred Date transfer Totai amount
or payments received or debts paid was made or value
in exchange

13.2. Jose Areitano 2013 DODGE RAM P|CKUP 11102!2017 $10,000.00

1CSRR6FT1D8587019

Acldress

12611 De Forest St.

Street

Houston TX 77066

Ciiy State ZlP Code

Reiationship to debtor

Emptoyee

Who received transfer? Descrlption of property transferred Date transfer Totai amount
or payments received or debts paid was made or value
in exchange

13.3. Phillip Rivera Jr. 2013 FORD f-‘»150 FX4 4X4 12101[2017 $0.00

SUPERCREW CAB

Ad°'“’$$ ti=Tr-'wi EFsoi=Aezssa

13419 Kluge Corner Lane

Street

Cypress TX 77429

Cizy State ZlP code

Reiationship to debtor

Debtor's executive vice president

Officiai Form 207

Statement of Financiat Aftairs for Non-lndividuais Fiiing for Bankruptcy

page 8

 

 

 

Debtor

13.4.

13.5.

13.6.

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 10 of 15

Dritling Structures internationai, tnc.

Name

Who received transfer?

iiitac Haik Dodge

 

Address
11000 Not‘th Fr'wy

 

Street

 

Houston TX
City Staie

Reiationship to debtor
Venctor

Who received transfer?

iVlac Haik Dodge

Address

'l’i 000 North Frwy
street

77037
Z|P Code

 

Houston TX
Ciir t state

Reiationship to debtor
Vendor

Who received transfer?

Ursuia Rivera iiiiuro

Actdress
10616 N. Asher Rd.

77037
Z|P Code

 

Street

 

i-lobbs NM
city Sta:e

Reiationship to debtor
Sister of debtor‘s executive VP

Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

|z[ Does not appiy

Officiai Form 207

88242
ZlP Code

Description of property transferred
or payments received or debts paid
|n exchange

2013 DODGE RA|V| P|CKUP
1CRR6FTXD556998

Description of property transferred
or payments received or debts paid
in exchange

2013 DODGE RAM P|CKUP
1CRR6FT9D3585292

Description of property transferred
or payments received or debts paid
in exchange

2013 DODGE RAM P|CKUP
1C6RR6FT8DS587017

Case number (if known)

Date transfer
was made

1011 2i2017

18~33395

Totai amount
or value

$15,000.00

 

Date transfer
was made

111 812018

Date transfer
was made

7103!2017

Totai amount
or value

$16,000.00 `

Totai amount
or value

$12,000.00

 

Statement of Financla| Affairs for Non-lndividuais Fiiing for Bankruptcy

page 9

 

 

 

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Debtor Driiiing Structures |nternationai, inc. Case number (ii known) 18-33395

Name

Health Care Bankruptcies

15.

Health Care bankruptcies

is the debtor primarily engaged in offering services and facilities for:

l diagnosing or treating injury, detormiiy, or disease, or

l providing any surgical, psychiatricl drug treatmentl or cbsletric care?

[Z[ No. Go to Parl 9.
|'_'| Yes. Fill in the information below.

Personal|y identifiable information

16.

17.

Does the debtor collect and retain personalty ldentlfiab|e information of customers?

|E No.

[:_] Yes. Slate the nature of the information collected and retained

 

 

Does the debtor have a privacy policy about that information?

[_'_] No.
[_‘°_] Yes.

Within 6 years before filing this case, have any employees of the debtor been participants in any ER|SA, 401(|<), 403(b) or
other pension or profit~sharing plan made available by the debtor as an employee benefit?

E'[ No. Go to Part 10.

[_:| Yes. Does the debtor serve as plan administrator?
|:| No. Go to Part10.
|:| Yes. Fi|i in beiow:

Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18.

19.

Officiai Form 207 Statement of Financiai Aftalrs for Non-individuais Fiiing for Bankruptcy page 10

Closed financial accounts

Within 1 year before filing this case, Were any financial accounts or instruments heid iri the debtor's name, or for the debtor's benefit.
ciosed. saidr moved, cr transferred?

include checkingl savings. money marital, or other financial accounts, certificates of depositl and shares in banks, credit unions, brokerage
houses, cooperatives associationsl and other financial institutionsl

|z[ None

Safe deposit boxes

List any safe deposit box or other depository for securitiesl cash, or other vaiuabies the debtor now has or did have within t year before
filing this case.

m None

 

 

Case 18-33395 Document 11 Filed in TXSB on 07/11/18 Page 12 of 15

Debror Driiting Structures internationai, lnc. ease number (ir known) 18-33395
Name

20. Off-premises storage
List any property kept in storage units orwarehouses within 1 year before filing this case. Do not include facilities that are in a part of a
building in which the debtor does business

M None
Property the Debtor ticle or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. include any property borrowed from, being stored for. or held
in trust. Do not list leased or rented property

 

 

 

m None

Owner's name and address Location of the property Descriptlon of the property Va|ue

TO BE PROViDED

Name

 

 

Street

 

 

 

 

City State Z|P Col:ie

Part 12: Details About Environmentai information

For the purpose of Part t2, the fotiowing definitions appiy:

l Envr'ronmentai law means any statute or governmentat regulation that concerns polluiicn, contamination or hazardous materlai, regardless or
the medium affected (airl |and, water, or any other medium).

 

l Sr‘te means any locationf tacility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

l Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a poifutant, contaminant, or a
similarly harmful substance

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judiciat or administrative proceeding under any environmental |aw?
include settlements and orders.

MNO

[] Yes. Provtde detaiis below.

23. Has any governmental unit otherwise notified the debtor that the debtor may be tiable or potentially liable under or in
violation of an environmental law?

E[No

m Yes. Provicie detaiis below.

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mentor Drit|ing Structures internationa|, lnc. Case number (ir known) 18~33395
Name

24. Has the debtor notified any govermental unit of any release of hazardous materiai?

mNo

E| Yes. Provide details below.

 

Part 13: Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
List any business for Which the debtor was an owner. partner, member. or otherwise a person in control within 6 years before filing this
case. include this information even if already listed in the Schedules.

121 None

26. Books, records, and financial statements

26a. l_ist all accountants and bookkeepers who maintained the debtor‘s books and records within 2 years before filing this case.

|:| None

Name and address Dates of service

26a.‘i. Josephine Sioan From 9125!2006 To present

Narrre

5015 Forest Hurst Drive
Street

 

 

Spring TX 77373
City Staie ZlP Code

 

Name and address Dates of service

26a.2. Bent|ey, Bratcher & Associates From 812016 To present
Name
515 West Greens Road #710
Street

 

Houston TX 77067-4525
City Sfate ZiP Code

28b. List a|| firms or individuals who have audited, compiled, or reviewed debtors books of account and records or prepared a financial
statement within 2 years before filing this case.

g None

Narne and address Dates of service

26b.1. Bentley, Bratcher & Associates From 8!2016 To present
Name
515 West Greens Road #710
Street

 

Houston TX 77067-4525
city stare zia code

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hester Driiiing Structures internationai, lnc. case number rif known) 18-33395
Name

26c. List all firms or individuals who were in possession of the debtors books of account and records when this case is fited.

m None

Name and address if any books of account and records are
unavailable, explain why

26c.t. Driiling Structures lnternationai, lnc. __

 

 

 

 

Name

PO Box 680207

Street

Houston TX 77268
City State ZlP Code

26d. List ali financial institutions. oreditors, and other parties. including mercantile and trade agencies, to whom the debtor issued a
financial statement within 2 years before filing this case.

[\_7[ None

27. inventories
Have any inventories of the debtors property been taken within 2 years before filing this case?

[_7_] No.

m Yes. Give the details about the two most recent inventories

28. List the debtor's officers, directors, managing members, general partners, members in contro|, controlling shareholders,
or other people in control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any interest % of interest, if any

Philiip Rivera Sr. 8902 Steriing Gate Circte President l' Sharehoider 50%
Spring, TX 77379

Phiiiip Rivera Jr. 134-19 Kluge Corner Lane Executive vice president! 50%
Cypress, TX 77429 Shareholder

Shannor\ York 6006 Fiagg Ranch Ct. Corporate secretary l None 0%

Springl TX 77388

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
members in control of the debtor, or shareholders in control of the debtor who no longer hold these posttions?

MNo

|:] Yes. identify below.

 

 

blame Address Posltion and nature of Period during which position
any interest or interest was held

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Debtor Drli|ing Structures internationai, lnc. case number (rr known) 't 8-33395
Name

30. Payments, distributions, or withdrawals credited or given to insiders

Within 'i year before filing this case. did the debtor provide an insider with value in any form, including saiary, other contpensetion, draws,
bonuses ioans. credits on ioans. stock redemptions and options exercised?

M No
|:| Yes. identify beiow.

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
M No
|:} res, identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

M No
m Yes. identity below.

Signature and Declaretion

WARN|NG --Eankrupicy fraud is a serious orime. waiting a false statementl concealing property. or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C.§§152,134t, 1519, and 3571.

l have examined the information in this Statementof ananciaiAHairs and any attachments and have a reasonable belief that the information is
true and correct

 

| declare under penalty ot perlury that tire foregoing is true and correct

Executed on 07111!2018
)’ cwa l
X , // / /W/j Prtnted name Phllilp Rivera Jr.

Signatur)i/ih'dlvidual signing/b€h on all of the debtor

 

Positlon or relationship to debtor E>tecutive Vice Presidehf

Aro additional pages to Stafernent of Financial Affoirs for Non~indlvfduais Filing for Bankruplcy (Offlciel Form 207) attachod?
|zl No
[:] Yes

 

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